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                        IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF KANSAS


United States of America,

                      Plaintiff/Respondent,

v.                                                        Case No. 03-20085-01-JWL
                                                                   05-3366-JWL
Juan Suarez,

                      Defendant/Petitioner.


                                 MEMORANDUM & ORDER

        On July 17, 2003, Juan Suarez was charged in a three-count indictment with conspiracy to

distribute and possess with intent to distribute methamphetamine (Count 1), cocaine (Count 2) and

marijuana (Count 3) in violation of 21 U.S.C. §§ 846 and 841(a)(1). On February 2, 2004, Mr.

Suarez entered a plea of guilty to Count 1 of the indictment. In the plea agreement executed by

Mr. Suarez, he waived his right to appeal or collaterally attack any matter in connection with his

prosecution, conviction and sentence, including his right to file a motion pursuant to 28 U.S.C. §

2255. On August 19, 2004, Mr. Suarez was sentenced to a 210-month term of imprisonment. The

judgment of conviction was entered on August 23, 2004. Mr. Suarez appealed his sentence to the

Tenth Circuit in light of the Supreme Court’s decision in Blakely v. Washington, 542 U.S. 296

(2004), and the government then filed a motion to enforce the plea agreement. On May 10, 2005,

the Circuit granted the government’s motion to enforce the plea agreement and dismissed Mr.

Suarez’s appeal.

        On September 16, 2005, Mr. Suarez filed a motion to vacate, set aside or correct his
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sentence pursuant to 28 U.S.C. § 2255 (doc. 221). In his motion to vacate, Mr. Suarez asserts that

his conviction violates the Ninth and Tenth Amendments; that he received ineffective assistance

of counsel; and that his sentence is unconstitutional in light of the Supreme Court’s decisions in

Blakely and United States v. Booker, 543 U.S. 220 (2005). In response, the government seeks

to enforce the waiver contained in Mr. Suarez’s plea agreement (doc. 223). As explained below,

the government’s motion to enforce is granted and Mr. Suarez’s motion to vacate is dismissed.




       The government opposes Mr. Suarez’s motion on the grounds that he expressly waived his

right to challenge his sentence through collateral attack in the plea agreement that he executed.

The court will hold a defendant and the government to the terms of a lawful plea agreement.

United States v. Arevalo-Jimenez, 372 F.3d 1204, 1207 (10th Cir. 2004); United States v.

Atterberry, 144 F.3d 1299, 1300 (10th Cir. 1998). Thus, a knowing and voluntary waiver of §

2255 rights in a plea agreement is generally enforceable.   United States v. Cockerham, 237 F.3d

1179, 1181 (10th Cir. 2001).       The Tenth Circuit has adopted a three-pronged analysis for

evaluating the enforceability of such a waiver in which the court must determine: (1) whether the

disputed issue falls within the scope of the waiver, (2) whether the defendant knowingly and

voluntarily waived his rights, and (3) whether enforcing the waiver would result in a miscarriage

of justice.   See United States v. Hahn, 359 F.3d 1315, 1325 (10th Cir. 2004) (en banc) (per

curiam).




Scope of the Waiver

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        Mr. Suarez does not contend that the issues raised in his § 2255 petition fall outside the

scope of his waiver of rights. Nonetheless, in an abundance of caution, the court briefly analyzes

the scope of Mr. Suarez’s waiver and readily concludes that he waived the right to file the § 2255

motion presently pending before the court.      In determining whether the disputed issue falls within

the scope of the waiver, the court begins with the plain language of the plea agreement. United

States v. Anderson, 374 F.3d 955, 957 (10th Cir. 2004); Hahn, 359 F.3d at 1328. The provision

in the plea agreement by which Mr. Suarez waived his right to challenge his sentence through

collateral attack states as follows:

        Defendant knowingly and voluntarily waives any right to appeal or collaterally attack
        any matter in connection with this prosecution, conviction and sentence. The
        defendant is aware that Title 18, U.S.C. § 3742 affords a defendant the right to
        appeal the conviction and sentence imposed. By entering into this agreement, the
        defendant knowingly waives any right to appeal a sentence imposed which is within
        the guideline range determined appropriate by the court. The defendant also waives
        any right to challenge a sentence or manner in which it was determined in any
        collateral attack, including, but not limited to, a motion brought under Title 28,
        U.S.C. § 2255 [except as limited by United States v. Cockerham, 237 F.3d 1179,
        1187 (10th Cir. 2001)]. In other words, the defendant waives the right to appeal the
        sentence imposed in this case except to the extent, if any, the court departs upwards
        from the applicable sentencing guideline range determined by the court.

The plea agreement is construed “according to contract principles and what the defendant

reasonably understood when he entered his plea.”       Arevalo-Jimenez, 372 F.3d at 1206 (internal

quotation and citations omitted).        The court strictly construes the waiver and resolves any

ambiguities against the government and in favor of the defendant.         Hahn, 359 F.3d at 1343.

Bearing these principles in mind, the issues raised in Mr. Suarez’s § 2255 petition clearly fall




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within the scope of his waiver.1




Knowing and Voluntary

        Mr. Suarez asserts that his waiver was not knowing and voluntary because the plea

agreement containing the waiver was written in English rather than in Spanish, Mr. Suarez’s native

language. According to Mr. Suarez, he felt “pressured” and “confused” by having to listen to an

interpreter (who, according to Mr. Suarez, may have been making mistakes although he does not

indicate that the interpreter, in fact, did so) and attempt to read a document that might as well have

been “written in Greek.” The court rejects this argument. A Spanish language interpreter assisted

Mr. Suarez during the plea hearing and the record reflects that the plea agreement was translated

into Spanish.     Judge VanBebber, the judge who accepted Mr. Suarez’s plea and ultimately

sentenced Mr. Suarez, exhaustively inquired into whether he understood and accepted the terms

of the agreement, including the waiver provision.       Mr. Suarez affirmed that he did.      In sum, the

court does not doubt that Mr. Suarez entered the agreement knowingly, intelligently and

voluntarily. See United States v. Burgos-Cebreros, 2002 WL 1980625, at *1 (10th Cir. Aug. 28,

2002) (holding that waiver of rights contained in plea agreement was knowing and voluntary

despite the fact that defendant did not speak English fluently; interpreter assisted at plea hearing,


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          Indeed, the Tenth Circuit has already held that the specific waiver executed by Mr.
Suarez bars his Blakely and Booker challenges and the court may not revisit that issue. See
United States v. Monsisvais, 946 F.2d 114, 118 (10th Cir. 1991) (where issue of law had been
decided by the Circuit, district court was not permitted to consider additional evidence on the
issue; the law of the case doctrine is intended to avoid having the district court substitute its
opinion for that of the Circuit).

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agreement was translated into Spanish and district judge inquired into whether defendant

understood the waiver); see also United States v. Alvarado, 1991 WL 166397, at *1 (10th Cir.

Aug. 30, 1991) (proceedings involving an interpreter are “entitled to a presumption of regularity

which cannot be overcome” by unsupported allegations).




Miscarriage of Justice

       Enforcing a waiver results in a miscarriage of justice only if (1) the district court relied on

an impermissible factor such as race, (2) the defendant received ineffective assistance of counsel

in conjunction with the negotiation of the waiver, (3) the sentence exceeds the statutory maximum,

or (4) the waiver is otherwise unlawful in the sense that it suffers from error that seriously affects

the fairness, integrity, or public reputation of judicial proceedings.    Hahn, 359 F.3d at 1327.

According to Mr. Suarez, he received ineffective assistance of counsel in connection with the

negotiation of the plea agreement.    The constitutional right to effective assistance of counsel is

defined in Strickland v. Washington, 466 U.S. 668 (1984). To obtain habeas relief, a petitioner

must establish both that his attorney’s representation was deficient, measured against an objective

standard of reasonableness, and that there is a reasonable probability that but for counsel’s

deficient performance, the result of the proceeding would have been different. See id. at 687, 688,

694.

       Mr. Suarez asserts that his counsel was ineffective because his counsel advised him that he

and the prosecutor “agreed” on a 60-month sentence if Mr. Suarez entered a plea of guilty and

further advised him that it was “in his best interests to take the 60 months.”    According to Mr.

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Suarez, then, he entered a plea of guilty only because he believed he would receive a sentence of

60 months.    This argument is rejected and Mr. Suarez cannot rely on any breach of an alleged

promise. The plea agreement does not contain any promise of a 60-month sentence. In his plea

petition, Mr. Suarez swore that “no one has promised, suggested or predicted” that he would

receive a lighter sentence if he entered a guilty plea. Moreover, prior to accepting Mr. Suarez’s

guilty plea, Judge VanBebber asked Mr. Suarez whether anyone had made any promises to him

other than those contained in the plea agreement itself.   Mr. Suarez responded under oath that no

other promises had been made. Judge VanBebber also asked Mr. Suarez during the plea hearing

whether he understood that he, the judge, “could impose a sentence that is more severe than you

may anticipate under the plea agreement.”      Mr. Suarez answered this question in the affirmative.

Finally, Judge VanBebber asked Mr. Suarez whether he understood that the applicable guideline

range could not be determined until after the presentence investigation and that Mr. Suarez’s

sentence “could be different from any estimate that [his] attorney may have given [him].”     Again,

Mr. Suarez responded in the affirmative.

       As the Supreme Court has stated, “the representations of the defendant, his lawyer, and the

prosecutor at [the original plea] hearing, as well as any findings made by the judge accepting the

plea, constitute a formidable barrier in any subsequent collateral proceedings.”       Blackledge v.

Allison, 431 U.S. 63, 74 (1977).       “Solemn declarations in open court carry a strong presumption

of verity.”   Bush v. Neet, 400 F.3d 849, 852 (10th Cir. 2005) (rejecting petitioner’s claim that

guilty plea was invalid because his counsel promised that he would be eligible for mandatory

parole after serving half his sentence; plea agreement contained no such promise and petitioner

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affirmed in open court that he had not received promises other than those set forth in the

agreement) (quoting Blackledge, 431 U.S. at 74).             “The subsequent presentation of conclusory

allegations unsupported by specifics is subject to summary dismissal, as are contentions that in

the face of the record are wholly incredible.” Blackledge, 431 U.S. at 74. In fact, a petitioner’s

contention that statements made at the plea hearing were untruthful “will entitle a petitioner to an

evidentiary hearing only in the most extraordinary circumstances.” Id. at 80 n.19; accord Lasiter

v. Thomas, 89 F.3d 699, 703 (10th Cir. 1996) (noting that the Tenth Circuit “has interpreted

Blackledge to permit summary disposition of habeas corpus petitions based on claims of unkept

promises and misunderstanding when the court record refutes the claims”).

        Having closely reviewed the entire record, the court finds nothing to cast doubt on the truth

of Mr. Suarez’s declarations at the plea hearing and in his plea petition.         Judge VanBebber’s Rule

11 colloquy with Mr. Suarez was detailed, as was the plea petition signed by Mr. Suarez.              Mr.

Suarez’s claim, which is squarely contradicted by the record, is not supported by any evidence

sufficient to require a hearing.   Mr. Suarez’s allegations concerning the alleged agreement to a 60-

month sentence are not made under penalty of perjury or otherwise sworn.                   In fact, in all

likelihood, Mr. Suarez’s papers were not drafted by Mr. Suarez. In that regard, Mr. Suarez’s papers

are written in plain and highly articulate English. Given Mr. Suarez’s claim that he does not speak

or understand English at a level sufficient to enter a knowing and voluntary plea, it seems quite

clear that Mr. Suarez’s papers were drafted by a fellow inmate and, thus, the court questions the

reliability and accuracy of the allegations contained therein.       See Clark v. Tansy, 13 F.3d 1407,

1410 (10th Cir. 1993) (stating that “jailhouse lawyers” are “notoriously unreliable”).

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       For the foregoing reasons, the court concludes that Mr. Suarez is not entitled to an

evidentiary hearing on his claim that he received ineffective assistance of counsel in the plea

negotiation process.   See Cunningham v. Diesslin, 92 F.3d 1054, 1062 (10th Cir. 1996) (no

evidentiary hearing required on petitioner’s claim that his counsel promised him that mandatory

parole would apply to his sentence in light of evidence from record at plea hearing and absence

of any of the Blackledge factors which question the truth of the petitioner’s declarations); Lasiter,

89 F.3d at 703 (no evidentiary hearing required on claims of unkept promises; petitioner was

bound by his “solemn declarations in open court” and his unsubstantiated efforts to refute the

record were not sufficient to require a hearing); United States v. Gamble, 917 F.2d 1280, 1282

(10th Cir. 1990) (no evidentiary hearing required on petitioner’s claim that he was promised a

sentence of no more than 4 years; transcript of plea hearing and text of plea agreement completely

negated claims and petitioner cannot vary the plea agreement by self-serving parol evidence);

Laycock v. State of New Mexico, 880 F.2d 1184, 1186-87 (10th Cir. 1989) (no evidentiary

hearing required on petitioner’s claim that he was promised a suspended sentence if he entered a

plea of guilty; alleged promise was not mentioned at the plea hearing or in the plea agreement and

petitioner replied “no” when judge asked whether any other promises had been made).

       Having concluded that enforcing the waiver contained in Mr. Suarez’s plea agreement will

not result in a miscarriage of justice, the court grants the government’s motion to enforce and

dismisses Mr. Suarez’s petition for relief under 28 U.S.C. § 2255.




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       IT IS THEREFORE ORDERED BY THE COURT that Mr. Suarez’s motion to vacate,

set aside, or correct his sentence pursuant to 28 U.S.C. § 2255 (doc. 221) is dismissed and the

government’s motion to enforce the plea agreement (doc. 223) is granted.




       IT IS SO ORDERED this 23rd day of December, 2005.




                                                       s/ John W. Lungstrum
                                                       John W. Lungstrum
                                                       United States District Judge




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